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 6   Attorney for Defendant
 7
     JAIME MAYORGA

 8
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                       )       No. 11-CR-00296 JAM
                                                     )
                                                     )
11          Plaintiff,                               )       STIPULATION AND ORDER TO
     v.                                              )       TERMINATE DEFENDANT’S PRE-
12
                                                     )       TRIAL SERVICES SUPERVISION
13   JAIME MAYORGA                                   )
                                                     )
                                                     )
14          Defendants.                              )
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                                                     )
                                                     )
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           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
18
      supervision of Jaime Mayorga by Pre-Trial Services be terminated. Mr. Mayorga has been
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      under supervision for more than seven years; he has made all of his require court appearances;
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21    he has no prior failures to appear for court; and no violations have been filed. Pre-Trial Services

22    has also been informed of the request and joins in the termination of Mr. Mayorga’s
23
      supervision.
24
      It is so stipulated
25

26   DATE: August 9, 2018                                     /s/Ron Peters
                                                              RON PETERS
27                                                            Attorney for Defendant
                                                              Jaime Mayorga
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                                                         1
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                                                MC GREGORY W. SCOTT
 1
                                                United States Attorney
 2

 3   DATE: August 9, 2018                       /s/ Brian Forgery ___________
                                                Brian Forgery
 4                                              Assistant U.S. Attorney
 5
     It is so ordered.
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 7
     Date: August 14, 2018                /s/ John A. Mendez_______________
 8
                                          JOHN A. MENDEZ
 9                                        United States District Court Judge

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